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     Attorneys for Defendants Ahern Rentals, Inc.
 8   and Xtreme Manufacturing, LLC
 9                              UNITED STATES BANKRUPTCY COURT
10                                        DISTRICT OF NEVADA
11   In re                                               Lead Case No. BK-19-50102-gs
12                                                       (Chapter 7)
     DOUBLE JUMP, INC.
13                                                       Substantively consolidated with:
               Debtor.
14   ______________________________________                 19-50130-gs        DC Solar Solutions, Inc.
15                                                          19-50131-gs        DC Solar Distribution, Inc.
     CHRISTINA W. LOVATO, Trustee,
                                                            19-50135-gs        DC Solar Freedom, Inc.
16
                            Plaintiff,
17                                                       Adversary No.: 22-05001-gs
     v.                                                  DEFENDANTS’ ANSWER AND
18
                                                         AFFIRMATIVE DEFENSES TO
19   AHERN RENTALS, INC. and XTREME                      ADVERSARY COMPLAINT WITH NO
     MANUFACTURING, LLC,                                 CONSENT TO ENTRY OF FINAL ORDERS
20                                                       OR JUDGMENTS
                            Defendants.                  JURY TRIAL DEMANDED
21

22           Defendants, Ahern Rentals, Inc. (“Ahern Rentals”) and Xtreme Manufacturing, LLC

23   (“Xtreme,” and together with Ahern Rentals, “Defendants”), by and through their undersigned

24   counsel, hereby answer the Adversary Complaint (“Complaint”) [ECF No. 1] filed by Christina W.

25   Lovato, in her capacity as the Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the consolidated estates

26   of DC Solar Solutions, Inc. (“Solutions”), DC Solar Distribution, Inc. (“Distribution”), DC Solar

27   Freedom, Inc. (“Freedom,” and together with Solutions and Distribution, “DC Solar”) and Double

28   Jump, Inc. (“DJ,” and together with DC Solar, the “Debtors”) and state as follows:

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 1                                  LOCAL RULE 7012 STATEMENT

 2          Defendants do not consent to entry of final orders or judgments by the Bankruptcy Court.

 3                                                PARTIES

 4          1.      Answering Paragraph 1 of the Complaint, Defendants admit that Plaintiff is the chapter

 5   7 bankruptcy trustee for the Debtors. The remaining allegations in Paragraph 1 set forth legal

 6   conclusions for which no response is required.

 7          2.      Answering Paragraph 2 of the Complaint, Defendants admit Ahern Rentals is a

 8   corporation organized under the laws of the State of Nevada with its principal place of business in
 9   Las Vegas, Nevada. Defendants deny the remaining allegations in Paragraph 2 of the Complaint.
10          3.      Answering Paragraph 3 of the Complaint, Defendants admit Xtreme is a limited
11   liability company organized under the laws of the State of Nevada with its principal place of business
12   in Las Vegas, Nevada. Defendants deny the remaining allegations in Paragraph 3 of the Complaint.
13                                            JURISDICTION
14          4.      Answering Paragraph 4 of the Complaint, Defendants state the allegations therein set

15   forth legal conclusions for which no response is required.

16          5.      Answering Paragraph 5 of the Complaint, Defendants state that the Trustee’s statement

17   that she consents to the entry of final orders and judgments by the Bankruptcy Court speaks for itself

18   and requires no answer.

19                                      FACTUAL ALLEGATIONS

20          6.      Answering Paragraph 6 of the Complaint, Defendants state they are without

21   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

22   contained therein and therefore deny the same.

23          7.      Answering Paragraph 7 of the Complaint, Defendants admit the allegations contained

24   therein.

25          8.      Answering Paragraph 8 of the Complaint, Defendants state they are without

26   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

27   contained therein and therefore deny the same.

28          9.      Answering Paragraph 9 of the Complaint, Defendants state they are without

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 1   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 2   contained therein and therefore deny the same.

 3           10.    Answering Paragraph 10 of the Complaint, Defendants state they are without

 4   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 5   contained therein and therefore deny the same.

 6           11.    Answering Paragraph 11 of the Complaint, Defendants state they are without

 7   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 8   contained therein and therefore deny the same.
 9           12.    Answering Paragraph 12 of the Complaint, Defendants state they are without
10   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
11   contained therein and therefore deny the same.
12           13.    Answering Paragraph 13 of the Complaint, Defendants state they are without
13   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
14   contained therein and therefore deny the same.
15           14.    Answering Paragraph 14 of the Complaint, Defendants state they are without
16   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
17   contained therein and therefore deny the same.
18           15.    Answering Paragraph 15 of the Complaint, Defendants state they are without

19   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

20   contained therein and therefore deny the same.

21           16.    Answering Paragraph 16 of the Complaint, Defendants deny knowledge of alleged

22   actions taken by Jeff Carpoff (“Carpoff”) or DC Solar in furtherance of an alleged Ponzi scheme.

23   Defendants state they are without knowledge or information sufficient to form a belief as to the truth

24   or veracity of the remaining allegations of Paragraph 16 of the Complaint and therefore deny the

25   same.

26           17.    Answering Paragraph 17 of the Complaint, Defendants state they are without

27   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

28   contained therein and therefore deny the same.

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 1          18.     Answering Paragraph 18 of the Complaint, Defendants deny knowledge of alleged

 2   actions taken by Carpoff or DC Solar in furtherance of an alleged Ponzi scheme. Defendants state

 3   they are without knowledge or information sufficient to form a belief as to the truth or veracity of the

 4   remaining allegations of Paragraph 18 of the Complaint and therefore deny the same.

 5          19.     Answering Paragraph 19 of the Complaint, Defendants state they are without

 6   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 7   contained therein and therefore deny the same.

 8          20.     Answering Paragraph 20 of the Complaint, Defendants state they are without
 9   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
10   contained therein and therefore deny the same.
11          21.     Answering Paragraph 21 of the Complaint, Defendants admit the allegations contained
12   therein.
13          22.     Answering Paragraph 22 of the Complaint, Defendants state the allegations therein set
14   forth a legal conclusion for which no response is required.
15          23.     Answering Paragraph 23 of the Complaint, Defendants deny the allegations contained
16   therein.
17          24.     Answering Paragraph 24 of the Complaint, Defendants admit Ahern Rentals is an
18   equipment rental operation, and Xtreme is an equipment manufacturing operation. Defendants deny

19   the remaining allegations in Paragraph 24 of the Complaint.

20          25.     Answering Paragraph 25 of the Complaint, Defendants admit Don Ahern’s father

21   started Ahern Rentals, Don Ahern grew the business, and Don Ahern’s son, Evan Ahern, once worked

22   for the business. Defendants deny the remaining allegations in Paragraph 25 of the Complaint.

23          26.     Answering Paragraph 26 of the Complaint, Defendants deny the allegations contained

24   therein.

25          27.     Answering Paragraph 27 of the Complaint, Defendants deny the allegations contained

26   therein.

27          28.     Answering Paragraph 28, Defendants admit Evan Ahern was familiar with the Ahern

28   Rentals and Xtreme businesses. Defendants deny the remaining allegations in Paragraph 28 of the

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 1   Complaint.

 2          29.     Answering Paragraph 29, Defendants admit Evan Ahern held various executive

 3   positions with Ahern Rentals at given points in time. Defendants deny the remaining allegations in

 4   Paragraph 29 of the Complaint.

 5          30.     Answering Paragraph 30 of the Complaint, Defendants deny the allegations contained

 6   therein.

 7          31.     Answering Paragraph 31 of the Complaint, Defendants admit that Kirk Hartle, Sami

 8   Bakdash and Michael McGhee each held an executive position with Ahern Rentals at given points in
 9   time. Defendants deny the remaining allegations in Paragraph 31 of the Complaint.
10          32.     Answering Paragraph 32 of the Complaint, Defendants admit that Evan Ahern and
11   Don Ahern met with Carpoff and DC Solar in regard to potential legitimate business opportunities.
12   Defendants deny the remaining allegations contained in Paragraph 32 of the Complaint.
13          33.     Answering Paragraph 33 of the Complaint, Defendants admit they each sought
14   legitimate business opportunities with DC Solar. Defendants deny the remaining allegations in
15   Paragraph 33 of the Complaint.
16          34.     Answering Paragraph 34 of the Complaint, Defendants admit that those statements
17   were made by an Ahern employee.
18          35.     Answering Paragraph 35 of the Complaint, Defendants state that they are unaware of

19   Carpoff’s motivation and they are without knowledge or information sufficient to form a belief as to

20   the truth or veracity of the allegations contained therein and therefore deny the same.

21          36.     Answering Paragraph 36 of the Complaint, Defendants deny the allegations contained

22   therein.

23          37.     Answering Paragraph 37 of the Complaint, Defendants deny the allegations contained

24   therein.

25          38.     Answering Paragraph 38 of the Complaint, Defendants deny the allegations contained

26   therein.

27          39.     Answering Paragraph 39 of the Complaint, Defendants admit that they engaged

28   outside counsel to advise them in regard to certain agreements drafting and deny the the remaining

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 1   allegations contained therein.

 2          40.       Answering Paragraph 40 of the Complaint, Defendants deny knowledge of alleged

 3   actions taken by Carpoff or DC Solar in furtherance of an alleged Ponzi scheme. Defendants state

 4   they are without knowledge or information sufficient to form a belief as to the truth or veracity of the

 5   remaining allegations of Paragraph 40 of the Complaint and therefore deny the same.

 6          41.       Answering Paragraph 41 of the Complaint, Defendants state they are without

 7   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 8   contained therein and therefore deny the same.
 9          42.       Answering Paragraph 42 of the Complaint, Defendants state they are without
10   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
11   contained therein and therefore deny the same.
12          43.       Answering Paragraph 43 of the Complaint, Defendants state they are without
13   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
14   contained therein and therefore deny the same.
15          44.       Answering Paragraph 44 of the Complaint, Defendants state they are without
16   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
17   contained therein and therefore deny the same.
18          45.       Answering Paragraph 45 of the Complaint, Defendants state the lease agreement

19   between Ahern Rentals and Solar Eclipse Fund IX (“Fund IX”) speaks for itself and requires no

20   answer. Defendants state they are without knowledge or information sufficient to form a belief as to

21   the truth or veracity of the remaining allegations of Paragraph 45 of the Complaint and therefore deny

22   the same.

23          46.       Answering Paragraph 46 of the Complaint, Defendants state the lease agreement

24   between Ahern Rentals and Efficient Energy Distribution, Inc. (“EE”) speaks for itself and requires

25   no answer. Defendants state they are without knowledge or information sufficient to form a belief as

26   to the truth or veracity of the remaining allegations of Paragraph 46 of the Complaint and therefore

27   deny the same.

28          47.       Answering Paragraph 47 of the Complaint, Defendants deny they received and relied

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 1   upon a representation that EE was unaffiliated with DC Solar. Defendants state they are without

 2   knowledge or information sufficient to form a belief as to the truth or veracity of the remaining

 3   allegations of Paragraph 47 of the Complaint and therefore deny the same.

 4          48.     Answering Paragraph 48 of the Complaint, Defendants state the lease agreements

 5   between Ahern Rentals and Fund IX and Ahern Rentals and EE speak for themselves and require no

 6   answer. Defendants state they are without knowledge or information sufficient to form a belief as to

 7   the truth or veracity of the remaining allegations of Paragraph 48 of the Complaint and therefore deny

 8   the same.
 9          49.     Answering Paragraph 49 of the Complaint, Defendants deny the allegations contained
10   therein.
11          50.     Answering Paragraph 50 of the Complaint, Defendants deny the allegations contained
12   therein.
13          51.     Answering Paragraph 51 of the Complaint, Defendants deny the allegations contained
14   therein.
15          52.     Answering Paragraph 52 of the Complaint, Defendants deny the allegations contained
16   therein.
17          53.     Answering Paragraph 53 of the Complaint, Defendants admit Ahern Rentals’
18   corporate representative testified at the Trustee’s November 30, 2021 R. 2004 examination as stated

19          54.     Answering Paragraph 54 of the Complaint, Defendants deny the allegations contained

20   therein.

21          55.     Answering Paragraph 55 of the Complaint, Defendants admit Ahern Rentals’

22   corporate representative testified at the Trustee’s November 30, 2021 R. 2004 examination as stated.

23   Defendants deny the remaining allegations in Paragraph 55 of the Complaint.

24          56.     Answering Paragraph 56 of the Complaint, Defendants admit that an email address

25   was created but deny the remaining allegations contained therein.

26          57.     Answering Paragraph 57 of the Complaint, Defendants deny the allegations contained

27   therein.

28          58.     Answering Paragraph 58 of the Complaint, Defendants deny the allegations contained

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 1   therein.

 2          59.     Answering Paragraph 59 of the Complaint, Defendants deny the allegations contained

 3   therein.

 4          60.     Answering Paragraph 60 of the Complaint, Defendants state they are without

 5   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 6   regarding the dissolution actions of EE. Defendants deny the remaining allegations in Paragraph 60

 7   of the Complaint.

 8          61.     Answering Paragraph 61 of the Complaint, Defendants deny the allegations contained
 9   therein.
10          62.     Answering Paragraph 62 of the Complaint, Defendants deny the allegations contained
11   therein.
12          63.     Answering Paragraph 63 of the Complaint, Defendants deny the allegations contained
13   therein.
14          64.     Answering Paragraph 64 of the Complaint, Defendants deny the allegations contained
15   therein.
16          65.     Answering Paragraph 65 of the Complaint, Defendants admit that an email was sent
17   that attached the documents reference therein.
18          66.     Answering Paragraph 66 of the Complaint, Defendants state they are without

19   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

20   contained therein and therefore deny the same.

21          67.     Answering Paragraph 67 of the Complaint, Defendants deny the allegations contained

22   therein.

23          68.     Answering Paragraph 68 of the Complaint, Defendants deny the allegations contained

24   therein.

25          69.     Answering Paragraph 69 of the Complaint, Defendants admit that Evan Ahern

26   executed the reference lease but deny the remaining allegations contained therein.

27          70.     Answering Paragraph 70 of the Complaint, Defendants deny knowledge of alleged

28   actions taken by Carpoff in furtherance of an alleged Ponzi scheme. Defendants state they are without

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 1   knowledge or information sufficient to form a belief as to the truth or veracity of the remaining

 2   allegations of Paragraph 70 of the Complaint and therefore deny the same.

 3          71.     Answering Paragraph 71 of the Complaint, Defendants deny the allegations contained

 4   therein.

 5          72.     Answering Paragraph 72 of the Complaint, Defendants state the manufacturing

 6   agreement between Xtreme and DC Solar speaks for itself and requires no answer. Defendants deny

 7   the remaining allegations of Paragraph 72 of the Complaint.

 8          73.     Answering Paragraph 73 of the Complaint, Defendants admit Xtreme manufactured
 9   mobile solar generators (“MSGs”) for DC Solar. Defendants deny the remaining allegations of
10   Paragraph 73 of the Complaint.
11          74.     Answering Paragraph 74 of the Complaint, Defendants state they are without
12   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
13   contained therein and therefore deny the same.
14          75.     Answering Paragraph 75 of the Complaint, Defendants deny that Don Ahern or Evan
15   Ahern were rewarded financially or that they had any knowledge of Carpoff’s alleged wrongdoing.
16   Defendants state they are without knowledge or information sufficient to form a belief as to the truth
17   or veracity of the remaining allegations contained therein and therefore deny the same.
18          76.     Answering Paragraph 76 of the Complaint, Defendants deny knowledge of alleged

19   actions taken by Carpoff in furtherance of an alleged Ponzi scheme. Defendants state they are without

20   knowledge or information sufficient to form a belief as to the truth or veracity of the remaining

21   allegations of Paragraph 76 of the Complaint and therefore deny the same.

22          77.     Answering Paragraph 77 of the Complaint, Defendants admit Xtreme manufactured

23   certain MSGs for DC Solar. Defendants deny the remaining allegations of Paragraph 77 of the

24   Complaint.

25          78.     Answering Paragraph 78 of the Complaint, Defendants deny the allegations contained

26   therein.

27          79.     Answering Paragraph 79 of the Complaint, Defendants deny the allegations contained

28   therein.

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 1          80.       Answering Paragraph 80 of the Complaint, Defendants admit they are aware Evan

 2   Ahern filed a Bankruptcy Petition in this District in 2020. Defendants state they are without

 3   knowledge or information sufficient to form a belief as to what Carpoff may have recognized or

 4   learned and therefore deny the same. Defendants deny the remaining allegations of Paragraph 80 of

 5   the Complaint.

 6          81.       Answering Paragraph 81 of the Complaint, Defendants state they are without

 7   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 8   contained therein and therefore deny the same.
 9          82.       Answering Paragraph 82 of the Complaint, Defendants state they are without
10   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
11   contained therein and therefore deny the same.
12          83.       Answering Paragraph 83 of the Complaint, Defendants deny the allegations contained
13   therein.
14          84.       Answering Paragraph 84 of the Complaint, Defendants state they are without
15   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
16   contained therein and therefore deny the same.
17          85.       Answering Paragraph 85 of the Complaint, Defendants state they are without
18   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

19   contained therein and therefore deny the same.

20          86.       Answering Paragraph 86 of the Complaint, Defendants state they are without

21   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

22   contained therein and therefore deny the same.

23          87.       Answering Paragraph 87 of the Complaint, Defendants deny the allegations contained

24   therein.

25          88.       Answering Paragraph 88 of the Complaint, Defendants deny the allegations contained

26   therein.

27          89.       Answering Paragraph 89 of the Complaint, Defendants state they are without

28   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

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 1   contained therein and therefore deny the same.

 2          90.     Answering Paragraph 90 of the Complaint, Defendants deny the allegations contained

 3   therein.

 4          91.     Answering Paragraph 91 of the Complaint, Defendants admit that Evan Ahern and/or

 5   Michael McGhee provided certain information to Carpoff. Defendants state they are without

 6   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 7   contained therein and therefore deny the same.

 8          92.     Answering Paragraph 92 of the Complaint, Defendants admit that Evan Ahern and/or
 9   Michael McGhee provided certain information to Carpoff. Defendants deny the remaining allegations
10   contained therein.
11          93.     Answering Paragraph 93 of the Complaint, Defendants deny the allegations contained
12   therein.
13          94.     Answering Paragraph 94 of the Complaint, Defendants state they are without
14   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
15   contained therein and therefore deny the same.
16          95.     Answering Paragraph 95 of the Complaint, Defendants deny the allegations contained
17   therein.
18          96.     Answering Paragraph 96 of the Complaint, Defendants deny the allegations contained

19   therein.

20          97.     Answering Paragraph 97, Defendants deny Evan Ahern in any way, either expressly

21   or by implication, waived the attorney-client privilege held between Ahern Rentals and its legal

22   counsel.

23          98.     Answering Paragraph 98, Defendants admit communications from Ahern Rentals’

24   legal counsel contain a disclaimer the same or substantially similar as the one stated. Defendants deny

25   communications between Ahern Rentals’ legal counsel and Evan Ahern, even if shared, would

26   constitute a waiver of the attorney-client privilege held between Ahern Rentals and its legal counsel.

27          99.     Answering Paragraph 99 of the Complaint, Defendants admit that Evan Ahern

28   forwarded an email to Carpoff but deny that such would constitute a waiver of the attorney-client

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 1   privilege held between Ahern Rentals and its legal counsel.

 2          100.    Answering Paragraph 100 of the Complaint, Defendants deny the allegations

 3   contained therein.

 4          101.    Answering Paragraph 101 of the Complaint, Defendants state they are without

 5   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations

 6   contained therein and therefore deny the same.

 7          102.    Answering Paragraph 102 of the Complaint, Defendants state they are without

 8   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
 9   contained therein and therefore deny the same.
10          103.    Answering Paragraph 103 of the Complaint, Defendants state they are without
11   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
12   contained therein and therefore deny the same.
13          104.    Answering Paragraph 104 of the Complaint, Defendants state they are without
14   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
15   contained therein and therefore deny the same.
16          105.    Answering Paragraph 105 of the Complaint, Defendants admit that the acceptance
17   certificates are part of the lease agreements. Defendants state they are without knowledge or
18   information sufficient to form a belief as to the truth or veracity of the remaining allegations contained

19   therein and therefore deny the same.

20          106.    Answering Paragraph 106 of the Complaint, Defendants deny knowledge of alleged

21   actions taken by Carpoff or others in furtherance of an alleged Ponzi scheme. Defendants state they

22   are without knowledge or information sufficient to form a belief as to the truth or veracity of the

23   remaining allegations of Paragraph 106 of the Complaint and therefore deny the same.

24          107.    Answering Paragraph 107 of the Complaint, Defendants deny the allegations

25   contained therein.

26          108.    Answering Paragraph 108 of the Complaint, Defendants deny the allegations

27   contained therein.

28          109.    Answering Paragraph 109 of the Complaint, Defendants deny the allegations

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 1   contained therein.

 2           110.       Answering Paragraph 110 of the Complaint, Defendants deny the allegations

 3   contained therein.

 4           111.       Answering Paragraph 111 of the Complaint, Defendants deny that there were any false

 5   or fabricated Acceptance Certificates. Defendants admit that Carpoff requested Evan Ahern to

 6   execute certain Acceptance Certificates.

 7           112.       Answering Paragraph 112 of the Complaint, Defendants admit that Evan Ahern

 8   mistakenly signed the Acceptance Certificates under the belief that they were Acceptance Certifcaters
 9   for other units.
10           113.       Answering Paragraph 113 of the Complaint, Defendants deny knowledge of alleged
11   actions taken by Carpoff in furtherance of an alleged Ponzi scheme. Defendants state they are without
12   knowledge or information sufficient to form a belief as to the truth or veracity of the remaining
13   allegations of Paragraph 113 of the Complaint and therefore deny the same.
14           114.       Answering Paragraph 114 of the Complaint, Defendants deny knowledge of alleged
15   actions taken by Carpoff or others in furtherance of an alleged Ponzi scheme. Defendants state they
16   are without knowledge or information sufficient to form a belief as to the truth or veracity of the
17   remaining allegations of Paragraph 114 of the Complaint and therefore deny the same.
18           115.       Answering Paragraph 115 of the Complaint, Defendants deny knowledge of alleged

19   actions taken by Carpoff or others in furtherance of an alleged Ponzi scheme. Defendants state they

20   are without knowledge or information sufficient to form a belief as to the truth or veracity of the

21   remaining allegations of Paragraph 115 of the Complaint and therefore deny the same.

22           116.       Answering Paragraph 116 of the Complaint, Defendants deny knowledge of alleged

23   actions taken by Carpoff or others in furtherance of an alleged Ponzi scheme and further deny that

24   Eva Ahern was bribed , induced, or otherwise rewarded. Defendants state they are without knowledge

25   or information sufficient to form a belief as to the truth or veracity of the remaining allegations of

26   Paragraph 116 of the Complaint and therefore deny the same.

27           117.       Answering Paragraph 117 of the Complaint, Defendants deny that the transfers were

28   bribeds. Defendants state they are without knowledge or information sufficient to form a belief as to

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 1   the truth or veracity of the remaining allegations contained therein and therefore deny the same.

 2          118.    Answering Paragraph 118 of the Complaint, Defendants admit Xtreme manufactured

 3   MSGs for DC Solar. Defendants deny the remaining allegations of Paragraph 118 of the Complaint.

 4          119.    Answering Paragraph 119 of the Complaint, Defendants admit Ahern Rentals leased

 5   MSGs from DC Solar. Defendants deny the remaining allegations of Paragraph 119 of the Complaint.

 6          120.    Answering Paragraph 120 of the Complaint, Defendants deny the allegations

 7   contained therein.

 8          121.    Answering Paragraph 121 of the Complaint, Defendants admit in or about February
 9   2019 law enforcement filed a declaration referencing a Ponzi scheme allegedly carried out by Carpoff
10   and included therein references to Ahern Rentals. Defendants deny the remaining allegations of
11   Paragraph 121 of the Complaint.
12          122.    Answering Paragraph 122 of the Complaint, Defendants admit in or about April 2019,
13   Ahern Rentals terminated Evan Ahern’s employment. Defendants deny the remaining allegations of
14   Paragraph 122 of the Complaint.
15          123.    Answering Paragraph 123 of the Complaint, Defendants deny the allegations
16   contained therein.
17          124.    Answering Paragraph 124 of the Complaint, Defendants admit DC Solar made certain
18   payments to Ahern Rentals within four years of the February 2019 Petition Date. Defendants deny

19   the remaining allegations of Paragraph 124 of the Complaint.

20          125.    Answering Paragraph 125 of the Complaint, Defendants admit DC Solar made certain

21   payments to Xtreme within four years of the February 2019 Petition Date. Defendants deny the

22   remaining allegations of Paragraph 125 of the Complaint.

23          126.    Answering Paragraph 126 of the Complaint, Defendants admit DC Solar made certain

24   payments to both Ahern Rentals and Xtreme within four years of the February 2019 Petition Date.

25   Defendants deny the remaining allegations of Paragraph 126 of the Complaint.

26          127.    Answering Paragraph 127 of the Complaint, Defendants state that the allegations

27   contained therein constitute legal conclusions for which no response is required.

28          128.    Answering Paragraph 128 of the Complaint, Defendants state that the allegations

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 1   contained therein constitute legal conclusions for which no response is required.

 2                                       CLAIMS FOR RELIEF
                                                COUNT I
 3                                Preferential Transfer – 11 U.S.C. § 547
 4                                           [Ahern Rentals]

 5          129.    Paragraph 129 is a paragraph of incorporation to which no response is required. To the

 6   extent a response is required, Defendants incorporate their answers to the allegations in the

 7   Complaint, Paragraphs 1-128.

 8          130.    Answering Paragraph 130 of the Complaint, Defendants admit DC Solar made certain
 9   payments to Ahern Rentals within 90 days of the February 2019 Petition Date. Defendants deny the
10   remaining allegations of Paragraph 130 of the Complaint.
11          131.    Answering Paragraph 131 of the Complaint, Defendants admit DC Solar made certain
12   payments to Ahern Rentals within 1 year of the February 2019 Petition Date. Defendants deny the
13   remaining allegations of Paragraph 131 of the Complaint.
14          132.    Answering Paragraph 132 of the Complaint, Defendants deny the allegations
15   contained therein.
16          133.    Answering Paragraph 133 of the Complaint, Defendants admit Ahern Rentals was a
17   creditor of DC Solar. Defendants deny the remaining allegations of Paragraph 133 of the Complaint.
18          134.    Answering Paragraph 134 of the Complaint, Defendants state they are without
19   knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
20   contained therein and therefore deny the same.
21          135.    Answering Paragraph 135 of the Complaint, Defendants deny the allegations
22   contained therein.
23
                                                COUNT II
24                                      Actual Fraudulent Transfer
                                         11 U.S.C. § 548(a)(1)(A)
25                                           [Ahern Rentals]
26
            136.    Paragraph 136 is a paragraph of incorporation to which no response is required. To the
27
     extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
28

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 1   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in

 2   the Complaint, Paragraphs 1-135.

 3          137.    Answering Paragraph 137 of the Complaint, Defendants admit DC Solar made certain
 4
     payments to Ahern Rentals within two years of the February 2019 Petition Date. Defendants deny the
 5
     remaining allegations of Paragraph 137 of the Complaint.
 6
            138.    Answering Paragraph 138 of the Complaint, Defendants state they are without
 7
     knowledge or information sufficient to form a belief as to the truth or veracity of the allegations
 8
     contained therein and therefore deny the same.
 9
                                               COUNT III
10
                                     Constructive Fraudulent Transfer
11                                       11 U.S.C. § 548(a)(1)(B)
                                             [Ahern Rentals]
12
            139.    Paragraph 139 is a paragraph of incorporation to which no response is required. To the
13
     extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
14
     128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in
15
     the Complaint, Paragraphs 1-138.
16

17          140.    Answering Paragraph 140 of the Complaint, Defendants admit DC Solar made certain

18   payments to Ahern Rentals within two years of the February 2019 Petition Date. Defendants deny the
19   remaining allegations of Paragraph 140 of the Complaint.
20          141.    Answering Paragraph 141 of the Complaint, Defendants deny knowledge of alleged
21   actions taken by Carpoff or others in furtherance of an alleged Ponzi scheme. Defendants state they
22   are without knowledge or information sufficient to form a belief as to the truth or veracity of the
23   remaining allegations of Paragraph 141 of the Complaint and therefore deny the same.
24          142.    Answering Paragraph 142 of the Complaint, Defendants deny the allegations
25   contained therein.
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 1                                            COUNT IV
 2                                    Actual Fraudulent Transfer
                     11 U.S.C. § 544 and California Civil Code §§ 3439.04(a)(1) and
 3                      3439.07, NRS 112.180(1)(a), or other applicable state law
                                           [Ahern Rentals]
 4
            143.    Paragraph 143 is a paragraph of incorporation to which no response is required. To the
 5
     extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
 6
     128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in
 7
     the Complaint, Paragraphs 1-142.
 8
 9          144.    Answering Paragraph 144 of the Complaint, Defendants admit DC Solar made certain

10   payments to Ahern Rentals within four years of the February 2019 Petition Date. Defendants deny
11   the remaining allegations of Paragraph 144 of the Complaint.
12          145.    Answering Paragraph 145 of the Complaint, Defendants deny the allegations
13   contained therein.
14                                             COUNT V
                                   Constructive Fraudulent Transfer
15              11 U.S.C. § 544 and California Civil Code §§ 3439.04(a)(2) or 3439.05 and
             3439.07, NRS 112.180(1)(b), NRS 112.190(1) & (2), or other applicable state law
16                                          [Ahern Rentals]
17          146.    Paragraph 146 is a paragraph of incorporation to which no response is required. To the
18   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
19   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in
20   the Complaint, Paragraphs 1-145.
21          147.    Answering Paragraph 147 of the Complaint, Defendants admit DC Solar made certain
22   payments to Ahern Rentals within four years of the February 2019 Petition Date. Defendants deny
23   the remaining allegations of Paragraph 147 of the Complaint.
24          148.    Answering Paragraph 148 of the Complaint, Defendants deny knowledge of alleged
25   actions taken by Carpoff or others in furtherance of an alleged Ponzi scheme. Defendants state they
26   are without knowledge or information sufficient to form a belief as to the truth or veracity of the
27   remaining allegations of Paragraph 148 of the Complaint and therefore deny the same.
28

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 1          149.     Answering Paragraph 149 of the Complaint, Defendants deny the allegations

 2   contained therein.

 3                                             COUNT VI
 4                 Quasi-Contract Seeking Restitution as Remedy for Unjust Enrichment
                                            [Ahern Rentals]
 5
            150.     Paragraph 150 is a paragraph of incorporation to which no response is required. To the
 6
     extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
 7
     128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in
 8
     the Complaint, Paragraphs 1-149.
 9

10          151.     Answering Paragraph 151 of the Complaint, Defendants admit DC Solar made certain

11   payments to Ahern Rentals within four years of the February 2019 Petition Date. Defendants deny
12   the remaining allegations of Paragraph 151 of the Complaint.
13          152.     Answering Paragraph 152 of the Complaint, Defendants deny the allegations
14   contained therein.
15          153.     Answering Paragraph 153 of the Complaint, Defendants deny the allegations
16   contained therein.
17          154.     Answering Paragraph 154 of the Complaint, Defendants deny the allegations
18   contained therein.
19          155.     Answering Paragraph 155 of the Complaint, Defendants deny the allegations
20   contained therein.
21
                                                 COUNT VII
22                                              11 U.S.C. § 550
                                               [Ahern Rentals]
23

24          156.     Paragraph 156 is a paragraph of incorporation to which no response is required. To the

25   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through

26   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in

27   the Complaint, Paragraphs 1-155.

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 1          157.    Answering Paragraph 157 of the Complaint, Defendants deny the allegations

 2   contained therein.

 3          158.    Answering Paragraph 158 of the Complaint, Defendants deny the allegations
 4   contained therein.
 5                                             COUNT VIII
                                           Disallowance of Claim
 6
                                              [Ahern Rentals]
 7
            159.    Paragraph 159 is a paragraph of incorporation to which no response is required. To the
 8
     extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
 9
     128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in
10
     the Complaint, Paragraphs 1-158.
11
            160.    Answering Paragraph 160 of the Complaint, Defendants admit the allegations
12
     contained therein.
13

14          161.    Answering Paragraph 161 of the Complaint, Defendants deny the allegations

15   contained therein.

16          162.    Answering Paragraph 162 of the Complaint, Defendants deny the allegations
17   contained therein.
18
            163.    Answering Paragraph 163 of the Complaint, Defendants deny the allegations
19
     contained therein.
20
                                                COUNT IX
21                                Preferential Transfer – 11 U.S.C. § 547
                                                 [Xtreme]
22

23          164.    Paragraph 164 is a paragraph of incorporation to which no response is required. To the

24   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through

25   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in

26   the Complaint, Paragraphs 1-163.

27          165.    Answering Paragraph 165 of the Complaint, Defendants admit DC Solar made one
28   payment to Xtreme within 90 days of the February 2019 Petition Date. Defendants deny the remaining
                                                      19
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 1   allegations of Paragraph 165 of the Complaint.

 2          166.    Answering Paragraph 166 of the Complaint, Defendants admit DC Solar made certain

 3   payments to Xtreme within 1 year of the February 2019 Petition Date. Defendants deny the remaining

 4   allegations of Paragraph 166 of the Complaint.

 5          167.    Answering Paragraph 167 of the Complaint, Defendants deny the allegations

 6   contained therein.

 7          168.    Answering Paragraph 168 of the Complaint, Defendants admit Xtreme was a creditor

 8   of DC Solar. Defendants deny the remaining allegations of Paragraph 168 of the Complaint.
 9          169.    Answering Paragraph 169 of the Complaint, Defendants deny the allegations
10   contained therein.
11          170.    Answering Paragraph 170 of the Complaint, Defendants deny the allegations
12   contained therein.
13                                              COUNT X
14                                      Actual Fraudulent Transfer
                                         11 U.S.C. § 548(a)(1)(A)
15                                               [Xtreme]

16          171.    Paragraph 171 is a paragraph of incorporation to which no response is required. To the
17   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
18   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in
19   the Complaint, Paragraphs 1-170.
20
            172.    Answering Paragraph 172 of the Complaint, Defendants admit DC Solar made certain
21
     payments to Xtreme within two years of the February 2019 Petition Date. Defendants deny the
22
     remaining allegations of Paragraph 172 of the Complaint.
23
            173.    Answering Paragraph 173 of the Complaint, Defendants deny the allegations
24
     contained therein.
25

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                                                COUNT XI
 1                                   Constructive Fraudulent Transfer
 2                                       11 U.S.C. § 548(a)(1)(B)
                                                 [Xtreme]
 3

 4          174.    Paragraph 174 is a paragraph of incorporation to which no response is required. To the
 5   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
 6   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in
 7   the Complaint, Paragraphs 1-173.
 8          175.    Answering Paragraph 175 of the Complaint, Defendants admit DC Solar made certain
 9   payments to Xtreme within one year of the February 2019 Petition Date. Defendants deny the
10   remaining allegations of Paragraph 175 of the Complaint.
11          176.    Answering Paragraph 176 of the Complaint, Defendants deny the              allegations
12   contained therein.
13          177.    Answering Paragraph 177 of the Complaint, Defendants deny the allegations
14   contained therein.
15          178.    Answering Paragraph 178 of the Complaint, Defendants deny the allegations
16   contained therein.
17          179.    Answering Paragraph 179 of the Complaint, Defendants admit DC Solar provided
18   Xtreme with certain component parts for the manufacture of MSGs. Defendants deny the remaining
19   allegations of Paragraph 179 of the Complaint.
20          180.    Answering Paragraph 180 of the Complaint, Defendants deny the allegations
21   contained therein.
22          181.    Answering Paragraph 181 of the Complaint, Defendants deny the allegations
23   contained therein.
24          182.    Answering Paragraph 182 of the Complaint, Defendants deny the allegations
25   contained therein.
26

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                                              COUNT XII
 1                                    Actual Fraudulent Transfer
 2                   11 U.S.C. § 544 and California Civil Code §§ 3439.04(a)(1) and
                        3439.07, NRS 112.180(1)(a), or other applicable state law
 3                                             [Xtreme]

 4          183.    Paragraph 183 is a paragraph of incorporation to which no response is required. To the
 5   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through
 6   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in
 7   the Complaint, Paragraphs 1-182.
 8
            184.    Answering Paragraph 184 of the Complaint, Defendants admit DC Solar made certain
 9
     payments to Ahern Rentals within four years of the February 2019 Petition Date. Defendants deny
10
     the remaining allegations of Paragraph 184 of the Complaint.
11
            185.    Answering Paragraph 185 of the Complaint, Defendants deny the allegations
12
     contained therein.
13

14                                           COUNT XIII
                          Fraudulent Transfer, 11 U.S.C. § 544 and NRS 112.190
15                                              [Xtreme]
16          186.    Paragraph 186 is a paragraph of incorporation to which no response is required. To the

17   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through

18   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in

19   the Complaint, Paragraphs 1-185.

20          187.    Answering Paragraph 187 of the Complaint, Defendants admit DC Solar made certain

21   payments to Xtreme within four years of the February 2019 Petition Date. Defendants deny the

22   remaining allegations of Paragraph 187 of the Complaint.

23          188.    Answering Paragraph 188 of the Complaint, Defendants deny knowledge of alleged

24   actions taken by Carpoff or others in furtherance of an alleged Ponzi scheme. Defendants state they

25   are without knowledge or information sufficient to form a belief as to the truth or veracity of the

26   remaining allegations of Paragraph 188 of the Complaint and therefore deny the same.

27          189.    Answering Paragraph 189 of the Complaint, Defendants deny the allegations

28   contained therein.

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 1          190.    Answering Paragraph 190 of the Complaint, Defendants deny the allegations

 2   contained therein.

 3          191.    Answering Paragraph 191 of the Complaint, Defendants deny the allegations

 4   contained therein.

 5                                              COUNT XIV
                                               11 U.S.C. § 550
 6                                            [Ahern Rentals]
 7          192.    Paragraph 192 is a paragraph of incorporation to which no response is required. To the

 8   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through

 9   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in

10   the Complaint, Paragraphs 1-191.

11          193.    Answering Paragraph 193 of the Complaint, Defendants deny the allegations

12   contained therein.

13                                              COUNT XV
                                           Disallowance of Claim
14                                            [Ahern Rentals]
15          194.    Paragraph 194 is a paragraph of incorporation to which no response is required. To the

16   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through

17   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in

18   the Complaint, Paragraphs 1-193.

19          195.    Answering Paragraph 195 of the Complaint, Defendants admit the allegations

20   contained therein.

21          196.    Answering Paragraph 196 of the Complaint, Defendants deny the allegations

22   contained therein.

23          197.    Answering Paragraph 197 of the Complaint, Defendants deny the allegations

24   contained therein.

25                                          COUNT XVI
                          Turnover – 111 U.S.C. §542 and other applicable law
26                                            [Xtreme]
27          198.    Paragraph 198 is a paragraph of incorporation to which no response is required. To the

28   extent a response is required, Defendants note the Trustee only incorporates Paragraphs 1 through

                                                      23
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 1   128 as through fully stated. Defendants nevertheless incorporate their answers to the allegations in

 2   the Complaint, Paragraphs 1-197.

 3          199.    Answering Paragraph 199 of the Complaint, Defendants admit Xtreme manufactured

 4   MSGs for DC Solar. Defendants deny the remaining allegations of Paragraph 199 of the Complaint.

 5   the Complaint, Paragraphs 1-193.

 6          200.    Answering Paragraph 200 of the Complaint, Defendants deny the allegations

 7   contained therein.

 8          201.    Answering Paragraph 201 of the Complaint, Defendants deny the allegations
 9   contained therein.
10          202.    Answering Paragraph 202 of the Complaint, Defendants deny the allegations
11   contained therein.
12                             DEFENDANTS’ AFFIRMATIVE DEFENSES

13          Without assuming Plaintiff’s burden of proof as to any claim, Defendants allege the following

14   Affirmative Defenses. Defendants reserve the right to assert additional affirmative defenses in the

15   event discovery so indicates. In addition, Defendants incorporate by reference all affirmative

16   defenses contemplated by the Federal Rules of Civil Procedure and the Federal Rules of Bankruptcy

17   Procedure.

18                                   FIRST AFFIRMATIVE DEFENSE

19          The Trustee lacks standing to asserts some or all of the claims set forth in the Complaint

20                                 SECOND AFFIRMATIVE DEFENSE

21          The Trustee’s Complaint fails to state a claim against Defendants upon which relief can be

22   granted.

23                                  THIRD AFFIRMATIVE DEFENSE

24          The Trustee’s Complaint fails to state a claim against Defendants upon which relief can be

25   granted where the Trustee has failed to establish that DC Solar was insolvent at the time of any alleged

26   transfer or was rendered insolvent by any alleged transfer.

27                                 FOURTH AFFIRMATIVE DEFENSE

28          The Trustee’s Complaint fails to state a claim against Defendants upon which relief can be

                                                       24
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 1   granted where DC Solar and Jeff Carpoff were alter egos of each other.

 2                                    FIFTH AFFIRMATIVE DEFENSE

 3             The Complaint fails to state a claim against Defendants upon which relief can be granted

 4   where Defendants received any alleged transfers in the ordinary course of business pursuant to 11

 5   U.S.C. § 547(c)(2).

 6                                    SIXTH AFFIRMATIVE DEFENSE

 7             The Complaint fails to state a claim against Defendants upon which relief can be granted

 8   where Defendants received any alleged transfers for value and in good faith pursuant to 11 U.S.C. §
 9   548(c).
10                                  SEVENTH AFFIRMATIVE DEFENSE

11             To the extent avoidable or otherwise recoverable by the Trustee, Defendants are good faith

12   transferees who received the alleged transfer in satisfaction of a present or antecedent debt without

13   knowledge of the voidability of the transfer sought to be avoided in the Complaint pursuant to 11

14   U.S.C. § 550(b)(1) or § 550(b)(2).

15                                   EIGHTH AFFIRMATIVE DEFENSE

16             Defendants are entitled to all rights of setoff and recoupment available under applicable law

17   including 11 U.S.C. § 553.

18                                    NINTH AFFIRMATIVE DEFENSE

19             The Trustee’s claims against Defendants are barred, in whole or in part, based on the failure

20   to allege fraud with particularity as required by Rule 9(b) of the Federal Rules of Civil Procedure,

21   made applicable to this proceeding through Rule 7009 of the Federal Rules of Bankruptcy

22   Procedure.

23                                    TENTH AFFIRMATIVE DEFENSE

24             The Trustee’s claims against Defendants are barred, in whole or in part, by Debtors’ actions

25   including but not limited to fraud and/or inequitable conduct, on various bases including but not

26   limited to the doctrines of in pari delicto and/or unclean hands.

27                                 ELEVENTH AFFIRMATIVE DEFENSE

28             The Trustee’s claims are barred by the Doctrine of Estoppel.

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 1                                   TWELTH AFFIRMATIVE DEFENSE

 2          The Trustee’s claims are barred by the Doctrine of Waiver.

 3                                THIRTEENTH AFFIRMATIVE DEFENSE

 4          The Trustee’s claims are barred by the Doctrine of Laches.

 5                               FOURTEENTH AFFIRMATIVE DEFENSE

 6          The Trustee’s claims are barred by the Doctrine of Unjust Enrichment.

 7                                  FIFTEENTH AFFIRMATIVE DEFENSE

 8          The Trustee’s claims are barred by the applicable statutes of limitation.
 9                                  SIXTEENTH AFFIRMATIVE DEFENSE

10          To the extent Defendants received any purported property, they did so in good faith, for value,

11   and without knowledge of the voidability of the transfer.

12                               SEVENTEENTH AFFIRMATIVE DEFENSE

13          The Trustee’s Complaint fails to name necessary and indispensable parties.

14                               EIGHTEENTH AFFIRMATIVE DEFENSE

15          Subsequent to the subject transfers, Defendants gave new value to or for the benefit of the

16   debtor pursuant to 11 U.S.C. § 547(c)(4).

17                                NINETEENTH AFFIRMATIVE DEFENSE

18          The subject transfers were intended as a contemporaneous exchange for new value pursuant

19   to 11 U.S.C. § 547(c)(1).

20                                  TWENTIETH AFFIRMATIVE DEFENSE

21          The subject transfers were earmarked for payment to Defendants and therefore, the subject

22   transfers are not avoidable.

23                               TWENTY-FIRST AFFIRMATIVE DEFENSE

24          Defendants were a mere conduit, and therefore, the subject transfers are not avoidable.

25                                         PRAYER FOR RELIEF

26          WHEREFORE, Defendants pray as follows:

27          1.      The Trustee take nothing by way of the Complaint and the Complaint be dismissed

28   with prejudice;

                                                      26
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 1           2.      The Defendants be awarded their full costs and reasonable attorneys’ fees incurred

 2   herein; and

 3           3.      For such other and further relief as the Court deems just and proper.

 4

 5                                               JURY DEMAND

 6           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Defendants hereby demand a

 7   trial by jury in this action on all claims so triable.

 8           Dated this 13th day of June, 2022.
 9
                                                         FOX ROTHSCHILD LLP
10

11
                                                     By:/s/ Mark J. Connot
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17                                                      Attorneys for Defendants Ahern Rentals, Inc.
                                                        and Xtreme Manufacturing, LLC
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                                       CERTIFICATE OF SERVICE
 1

 2          I hereby certify that I am an employee of Fox Rothschild LLP and that on the 13th day of June,

 3   2022, pursuant to Rule 5(b) of the Federal Rules of Civil Procedure, I served a true and correct copy

 4   of the foregoing DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
 5
     ADVERSARY COMPLAINT WITH NO CONSENT TO ENTRY OF FINAL ORDERS OR
 6
     JUDGMENTS via the Court’s CM/ECF system, as follows:
 7

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17

18          Attorneys for Plaintiff
            Christina W. Lovato, Chapter 7 Trustee
19

20                                                /s/ Doreen Loffredo
                                                  An employee of Fox Rothschild LLP
21

22

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